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                       IN THE UNITED STATES DISTRICT COURT FOR THE
                              NORTHERN DISTRICT OF FLORIDA
                                   PENSACOLA DIVISION


NOEL K. BANGO,
     Plaintiff,

v.                                                                Case No.: 3:03cv576/MCR/EMT

JAMES V. CROSBY, et al.,
     Defendants.


                                  REPORT AND RECOMMENDATION
         This cause is before the court on Plaintiff’s Motion for Preliminary Injunctive Relief (Doc.
66). Plaintiff initiated this action by filing a civil rights complaint pursuant to 42 U.S.C. § 1983 (see
Doc. 1). Since filing this action, Plaintiff has filed five motions for injunctive relief, including the
instant motion (see Docs. 3, 7, 18, 57, 66). The four previous motions have each been denied by
order of the District Judge (see Docs. 23, 33, 69).1
         In the instant motion for injunctive relief, Plaintiff essentially raises the same allegations and
arguments contained in his prior motions for injunctive relief. Specifically, Plaintiff alleges that
“twice within five months, the defendants have failed to protect Plaintiff at Santa Rosa C.I. . . . close
management (CM) facility units” (Doc. 66 at 1). Plaintiff further alleges “as a result of the ongoing
assaults . . . and the inevitable rampant retaliation whenever Plaintiff file[s] grievances . . . Plaintiff
continues to suffer mental and physical injuries” (id.). As relief, Plaintiff seeks transfer to another
correctional facility.




         1
          The District Judge’s order dated April 22, 2004 (Doc. 23) denied Plaintiff’s first two motions for injunctive
relief (Docs. 3, 7); the order dated May 19, 2004 (Doc. 33) denied Plaintiff’s third motion (Doc. 18); and, the order dated
January 6, 2005 (Doc. 69) denied Plaintiff’s fourth motion (Doc. 57).
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        The purpose of preliminary injunctive relief is to preserve the status quo between the parties
and to prevent irreparable injury until the merits of the lawsuit itself can be reviewed. See Devose
v. Herrington, 42 F.3d 470, 471 (8th Cir. 1994). The grant or denial of preliminary injunctive relief
rests in the discretion of the district court. See Carillon Importers, Ltd. v. Frank Pesce Intern. Group
Ltd., 112 F.3d 1125, 1126 (11th Cir. 1997) (citation omitted). The district court, however, must
exercise its discretion in light of whether:
        1.       There is a substantial likelihood that Plaintiff will prevail on the merits;
        2.       There exists a substantial threat that Plaintiff will suffer irreparable injury if
                 the injunction is not granted;
        3.       The threatened injury to Plaintiff outweighs the threatened harm injunction
                 will do to the defendant; and
        4.       The granting of the preliminary injunction will not disturb the public interest.
See CBS Broadcasting, Inc. v. Echostar Communications Corp., 265 F.3d 1193, 1200 (11th Cir.
2001) (citation omitted); Carillon Importers, Ltd., 112 F.3d at 1126. “A preliminary injunction is
an extraordinary and drastic remedy not to be granted unless the movant clearly establishes the
‘burden of persuasion’ as to the four requisites.” CBS Broadcasting, Inc., 265 F.3d at 1200 (citation
omitted).
        Plaintiff has not clearly established that there exists a substantial threat that he will suffer
irreparable injury if the injunction is not granted. Although Plaintiff alleges “ongoing assaults,” he
mentions only two assaults within five months and provides no details concerning those alleged
assaults, including exactly when they occurred. Furthermore, Plaintiff alleges mental and physical
injuries, but provides no description or detail concerning these alleged injuries. In short, Plaintiff
has failed to carry his burden of persuasion.
        Accordingly, it is respectfully RECOMMENDED:
        That Plaintiff’s Motion for Preliminary Injunctive Relief (Doc. 66) be DENIED without
prejudice.




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        At Pensacola, Florida, this 16th day of May, 2005.



                                             /s/ Elizabeth M. Timothy
                                             ELIZABETH M. TIMOTHY
                                             UNITED STATES MAGISTRATE JUDGE


                                 NOTICE TO THE PARTIES

       Any objections to these proposed findings and recommendations must be filed within
ten (10) days after being served a copy thereof. A copy of objections shall be served upon all
other parties. Failure to object may limit the scope of appellate review of factual findings. See
28 U.S.C. § 636; United States v. Roberts, 858 F.2d 698, 701 (11th Cir. 1988).




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